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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

 ARKADIUSZ JOSEF GASKA and
 KATARZYNA GASKA, individually and on                 CIVIL ACTION NO.
 behalf of a class of others similarly situated,      3:22cv1201

                         Plaintiffs,

 v.

 DARCARS OF RAILROAD AVENUE, INC.

                         Defendant.                   SEPTEMBER 23, 2022


                                       NOTICE OF REMOVAL

       Defendant DARCARS of Railroad Avenue, Inc. (“Defendant”) hereby provides notice of

the removal of this civil action from the Connecticut Superior Court, Judicial District of Fairfield

at Bridgeport, to the United States District Court for the District of Connecticut. This Court has

subject matter jurisdiction under 28 U.S.C. § 1332(d)(2).

       In further support of this Notice of Removal, Defendant states as follows:

                                       PROCEDURAL HISTORY

       1.       By service of a Writ, Summons and Complaint on August 24, 2022, Plaintiffs

Arkadiusz Josef Gaska and Katarzyna Gaska (“Plaintiffs”) commenced this action in the

Connecticut Superior Court, Judicial District of Fairfield at Bridgeport, against Defendant. A true

and correct copy of the Summons and Class Action Complaint is attached as Exhibit A. A true

and correct copy of the Return of Service filed by Plaintiffs in the Connecticut Superior Court is

attached as Exhibit B.

       2.       The Complaint alleges that Defendant has two business practices that violate the

Connecticut Unfair Trade Practices Act, Conn. Gen. Stat. § 42-110a et seq. (“CUTPA”) in
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connection with Defendant’s sales of motor vehicles. First, the Complaint alleges that Defendant

“has a business practice of adding a commission of approximately two percent . . . to the price of

new and used vehicles sold on a retail basis.” Ex. A, ¶ 7. Second, the Complaint alleges that

Defendant “has a business practice of selling vehicles for prices that are higher than those

advertised by [Defendant].” Id. ¶ 21. Based on these and other allegations, Plaintiffs accuse

Defendant of violating CUTPA. Id. ¶¶ 2, 44, 63.1

       3.       Plaintiffs seek to represent two classes, the “Commission Class” and the

“Advertised Price Class.” Id. ¶ 34. The Commission Class consists of all individuals who, “during

the period commencing three years prior to the commencement of this action and continuing until

such time as there is an order certifying this case as a class action, [] purchased a new or used

motor vehicle from [Defendant]; and [Defendant] charged them a Commission in addition to the

Price of Vehicle reflected in the Purchase Order.” Id. ¶ 35. The Advertised Price Class consists

of all individuals who, during the same time period as the Commission Class, “purchased a new

or used motor vehicle from [Defendant]; [Defendant] had advertised the vehicle on its website or

a third-party website for a specific price (the ‘Advertised Price’); and the Price of Vehicle charged

to them as reflected in the Purchase Order was greater than the Advertised Price.” Id. ¶ 36.

       4.       Exhibits A and B constitute all of the process, pleadings, and orders served on

Defendant in this case and are attached pursuant to 28 U.S.C. § 1446(a). A copy of the state court

docket in Gaska, et al. v. DARCARS of Railroad Avenue, Inc., Docket No. FBT-CV22-6117756-

S, is attached as Exhibit C.




1
 Plaintiffs’ Complaint contains typographical errors regarding the numbers of each allegation, so
paragraph 63 of Plaintiffs’ Complaint is misidentified as paragraph 44 on page 14 of the
Complaint.

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        5.       The recitation of Plaintiffs’ allegations in this Notice of Removal is not a

concession of the truth of any allegation contained in Plaintiffs’ Complaint, nor a concession that

Plaintiffs’ legal theories have merit or that Plaintiffs or any putative class members are entitled to

any relief at all.

                                               PARTIES

        6.       Plaintiffs allege they are citizens of Connecticut. Ex. A, ¶ 3. Plaintiffs purport to

represent two classes of individuals without geographic or residency limitation, meaning the

classes include citizens of numerous states.

        7.       Defendant is a Connecticut corporation with a principal place of business in

Connecticut that does business as DARCARS Lexus of Greenwich. Id. ¶ 5.

                                  TIMELINESS OF REMOVAL

        8.       As noted above, Defendant was served on August 24, 2022. This notice is therefore

timely pursuant to 28 U.S.C. § 1446(b)(2). See Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc.,

526 U.S. 344, 347–48 (1999) (time for removal runs from receipt of formal service of process,

including summons).

                            BASIS FOR REMOVAL JURISDICTION

        9.       This Court has jurisdiction over this action pursuant to the Class Action Fairness

Act (“CAFA”), 28 U.S.C. § 1332(d).

        10.      Subject matter jurisdiction exists under CAFA because this case is (1) a proposed

class action within the meaning of CAFA, in which (2) “any member of a class of plaintiffs is a

citizen of a State different from any defendant,” (3) the “number of members of all proposed

plaintiff classes in the aggregate is [not] less than 100,” and (4) “the matter in controversy exceeds




                                                   3
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the sum or value of $5,000,000, exclusive of interests and costs.” See 28 U.S.C. § 1332(d)(2),

(d)(5)(B).

       11.     CAFA defines a “class action” to include “any civil action filed under rule 23 of

the Federal Rules of Civil Procedure or similar State statute . . . authorizing an action to be brought

by 1 or more representative persons as a class action.” 28 U.S.C. § 1332(d)(1)(B). This case

qualifies as a class action removable under Section 1332(d)(1)(B) because Plaintiffs assert these

claims on behalf of two classes pursuant to Connecticut Practice Book § 9-7 et seq., see Ex. A, ¶¶

2, 4, an analogue to Rule 23 of the Federal Rules of Civil Procedure. See, e.g., Collins v. Anthem

Health Plans, Inc., 880 A.2d 106, 114 (Conn. 2005) (noting that class requirements in Connecticut

Practice Book §§ 9-7 and 9-8 are “similar to those embodied in rule 23 of the Federal Rules of

Civil Procedure”); compare Connecticut Practice Book §§ 9-7 and 9-8 with Fed. R. Civ. P. 23.

       12.     CAFA’s minimal diversity requirement is satisfied.            As a threshold matter,

Plaintiffs’ class definitions contain no geographic or residency limitation and include any

individual in any state that purchased vehicles from Defendant that had an alleged Commission

applied or that were allegedly sold for a price greater than the Advertised Price. See Ex. A, ¶¶ 35,

36.

       13.     CAFA’s minimal diversity requirement is satisfied when “any member of a class

of plaintiffs is a citizen of a State different from any defendant.” 28 U.S.C. § 1332(d)(2)(A).

Defendant is a Connecticut corporation and citizen of Connecticut. Plaintiffs allege that Defendant

violates CUTPA as to “each vehicle sold,” see Ex. A, ¶ 9; see also id. ¶¶ 7, 21, and Defendant has

identified numerous individuals who have purchased vehicles from Defendant during the class

period who are not citizens of Connecticut. These individuals’ presence in the putative classes

therefore provides minimal diversity sufficient for jurisdiction under CAFA. See Grupo Dataflux



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v. Atlas Global Grp., L.P., 541 U.S. 567, 577 n.6 (2004); Bryne v. Charter Commc’ns, Inc., 581

F. Supp. 3d 409, 413 n.2 (D. Conn. 2022).

       14.     CAFA’s numerosity requirement is also satisfied. Plaintiffs allege that, at a

minimum, there are more than 1,100 total members in the putative classes, and that Defendant

violated CUTPA in connection with “possibly thousands of sales of motor vehicles.” Ex. A, ¶¶ 2,

38. This number is far greater than 100, satisfying CAFA’s numerosity requirement. See 28

U.S.C. § 1332(d)(5)(B).

       15.     CAFA’s amount-in-controversy requirement is satisfied as well. “In any class

action, the claims of the individual class members shall be aggregated to determine whether the

matter in controversy exceeds” the $5,000,000 threshold. 28 U.S.C. § 1332(d)(6). Plaintiffs seek,

on their behalf and behalf of the classes: 1) actual damages, to include the cost of the Commission

and/or the difference between the Advertised Price and the price charged, sales tax charged on

these amounts, and finance charges incurred on the amounts class members were allegedly

overcharged; 2) punitive damages; 3) injunctive relief; and 4) attorney’s fees.2 See Ex. A, ¶¶ 50,

51, 67, 68; see also id. Prayer for Relief.

       16.     To satisfy CAFA’s amount-in-controversy requirement, the Supreme Court has

instructed that defendants’ notices of removal “need only include [] plausible allegation[s] that the

amount in controversy exceeds the jurisdictional threshold.” Dart Cherokee Basin Operating Co.,

LLC v. Owens, 574 U.S. 81, 89 (2014); see also Jean-Louis v. Carrington Mortg. Servs., LLC, 849

F. App’x 296, 299 n.15 (2d Cir. 2021); Koch v. Koch, 2018 WL 4963168, at *3 (D. Conn. Oct. 15,

2018). “Evidence establishing the amount” in controversy is not required to be included with the


2
 Defendant acknowledges that attorney’s fees under CUTPA are discretionary, and therefore does
not include attorney’s fees in its analysis of CAFA’s amount-in-controversy requirement. See,
e.g., Suarez v. Mosiac Sales Sols. US Operating Co., LLC, 720 F. App’x 52, 55 (2d Cir. 2018).

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notice of removal, but instead is required only “when the plaintiff contests, or the court questions,

the defendant’s allegation.” Dart Cherokee, 574 U.S. at 89.

       17.     Defendant does not concede any liability or that Plaintiffs or any putative class

member are entitled to any relief. With that being said, and using the allegations regarding

Plaintiffs’ purchase of a vehicle from Defendant as an example, Plaintiffs allege that they were

charged a Commission of $844.76. Ex. A, ¶ 33. The sales tax on that amount is $53.64.3 The

finance charge on the combined Commission and sales tax amount is $141.85, so the total amount

of Plaintiffs’ actual alleged damages for their Commission claim is $1,040.25. Plaintiffs also

allege that they purchased their vehicle for $1,400 more than its Advertised Price. Id. ¶ 32. The

sales tax on that amount is $88.90, and the finance charge on the combined alleged overcharge and

sales tax amount is $235.08, bringing the total amount of Plaintiffs’ actual alleged damages for

their Advertised Price claim to $1,723.98. The total amount of Plaintiffs’ actual alleged damages

therefore is $2,764.23.

       18.     Using Plaintiffs’ alleged damages as an average across 1,100 putative class

members, the alleged actual damages would be at least $3,040,653. But Plaintiffs are also seeking

punitive damages on behalf of all class members, which are authorized under CUTPA. See Conn.

Gen. Stat. § 42-110g. Accordingly, these punitive damages are properly considered as part of

CAFA’s amount-in-controversy requirement. See A.F.A. Tours, Inc. v. Whitchurch, 937 F.2d 82,

87 (2d Cir. 1991) (punitive damages may be included in determining amount in controversy where

permitted by controlling law).




3
 Using Connecticut’s sales tax rate of 6.35%. It is worth noting that Connecticut’s sales tax for
vehicles purchased for more than $50,000 is 7.75%, so it is likely that certain putative class
members paid a higher rate of sales tax than Plaintiffs. See Conn. Gen. Stat. § 12-408(1)(H).

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       19.     Although Plaintiffs’ Complaint does not specify the amount of punitive damages

sought, Plaintiffs previously filed an arbitration demand asserting one of the same claims as alleged

here, and that demand sought $10,000 in punitive damages on behalf of Plaintiffs alone. See

Plaintiff’s Arbitration Demand, attached as Exhibit D, at 4.4 Assuming Plaintiffs are seeking

anywhere near that amount on behalf of each putative class member, Plaintiffs’ punitive damages

demands alone would exceed $5,000,000. Accordingly, CAFA’s $5,000,000 threshold is easily

exceeded when combining Plaintiffs’ alleged actual damages with their demand for punitive

damages.5 See, e.g., Kocienda v. U-Haul Intern., Inc., 2007 WL 2572269, at *1 (D. Conn. Sept.

4, 2007) (denying remand where there was “a reasonable probability that the compensatory and

punitive damages pursuant to CUTPA would meet [CAFA’s] threshold amount in controversy”).

       20.     Defendant therefore has met the requirements to show that CAFA jurisdiction

exists, making removal to this Court proper. Accordingly, this Court has original jurisdiction over

this action pursuant to 28 U.S.C. § 1332(d), and this action is removable pursuant to 28 U.S.C. §§

1441 and 1453.

       21.     Although CAFA contains several exceptions to jurisdiction, Plaintiffs bear the

burden of demonstrating that any of those exceptions have been satisfied. See Greenwich Fin.

Servs. Distressed Mortg. Fund 3 LLC v. Countrywide Fin. Corp., 603 F.3d 23, 26 (2d Cir. 2010);

Kosieradzki v. Eversource Serv. Energy Co., 2021 WL 1227571, at *7 (D. Conn. Apr. 1, 2021).

In any event, and as noted above, the classes included in Plaintiffs’ Complaint contain no


4
  As Plaintiffs’ arbitration demand indicates, the contracts governing the sale of Plaintiffs’ vehicle
and the vehicles of all putative class members contain an arbitration clause, which requires this
dispute to be arbitrated. Defendant anticipates filing a motion to compel arbitration shortly after
filing this Notice of Removal.
5
  Additionally, although it is not necessary to quantify it in this Notice of Removal, the value of
the injunctive relief sought by Plaintiffs also should be included in the amount in controversy. See,
e.g., Whitchurch, 937 F.2d at 87.

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geographic or residency limitations, and are defined in such a manner that they appear to include

anyone who has ever purchased a car from Defendant since Defendant opened in August of 2020.

While certain putative class members are likely Connecticut citizens, Defendant understands that

a significant number of putative class members are citizens of New York, New Jersey, Florida,

Pennsylvania, and Massachusetts. Moreover, Defendant understands that the putative classes

include residents from approximately 35 states.

       22.     Defendant reserves the right to assert all applicable defenses in this matter and

denies that Plaintiffs or any member of the putative classes are entitled to any relief.

             REMOVAL TO THE DISTRICT OF CONNECTICUT IS PROPER

       23.     Venue for removal is proper in this district under 28 U.S.C. § 1441(a) because this

district embraces the Connecticut Superior Court, Judicial District of Fairfield at Bridgeport, the

forum in which the removed action was pending.

                      NOTICE TO STATE COURT AND PLAINTIFFS

       24.     Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal will be filed

with the Clerk of the Connecticut Superior Court, Judicial District of Fairfield at Bridgeport, and

served upon counsel for Plaintiffs promptly.



       WHEREFORE, the case pending in the Connecticut Superior Court, Judicial District of

Fairfield at Bridgeport, Docket No. FBT-CV22-6117756-S, is hereby removed to the United States

District Court for the District of Connecticut pursuant to 28 U.S.C. §§ 1441 and 1453.




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                                                    DEFENDANT
                                                    DARCARS OF RAILROAD AVENUE, INC.




                                                    By: /s/ Patrick M. Fahey
 Of Counsel:                                           Patrick M. Fahey (ct13862)
 Benjamin J. Razi                                      pfahey@goodwin.com
 brazi@cov.com                                         For Shipman & Goodwin LLP
 Jeffrey Huberman                                      One Constitution Plaza
 jhuberman@cov.com                                     Hartford, CT 06103-1919
 Covington & Burling LLP                               Tel: 860-251-5000
 One CityCenter, 850 Tenth Street, NW                  Fax: 860-251-5219
 Washington, DC 20001-4956
 Tel: 202-662-6000
                                                    Counsel for Defendant




                                CERTIFICATE OF SERVICE

        I hereby certify that on September 23, 2022 the foregoing was electronically filed on
the Court’s ECF system and served by first-class mail and electronically via email addressed
as follows:

Daniel S. Blinn
dblinn@consumerlawgroup.com
Paulette N. Eze
peze@consumerlawgroup.com
Consumer Law Group, LLC
35 Cold Spring Rd. Suite 512
Rocky Hill, CT 06067
Tel. (860) 571-0408
Fax (860) 571-7457

Counsel for Plaintiffs

                                             /s/ Patrick M. Fahey




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                Exhibit A
                           Case 3:22-cv-01201-MPS Document 1 Filed 09/23/22 Page 11 of 46
 SUMMONS           -   CIVIL                                                            For Information on                            STATE OF CONNECTICUT
 JD-CV-1 Rev 2-22                                                                       ADA accommodations,
 C &S §5 51-346. 51-347. 51-349. 51-350, 5245a, 5248, 52-259.                                                                             SUPERIOR COURT
                                                                                        contact a court clerk or
 RB §53-1 through 3-21. 6-1. 10-13                                                                                                                       wttnti.jud.ct,gov
                                                                                        go to: www.judctqov/ADA.
 lnstructiDns are on page 2.
 fl    Select if amount, legal interest, or property in demand, not including interest and costs, is LESS than $2,500.
       Select if amount, legal interest, or property in demand, not including interest and costs, is $2,500 or MORE.
       Select if claiming other relief in addition to, or in place of, money or damages.

 TO: Any proper officer
 By authority of the State of Connecticut, you are hereby commanded to make due and legal service of this summons and attached complaint.
 Address of court erlc (Number, street. town and zip code)                                               Telephone number of clerk                  Return Date (Must be a Tuesday)
1061 Main Street, P.O. Box 110, Bridgeport, CT 06604                                                     (203) 579 —6527                            0912012022
j Judicial District       GA.           At (Cityflown)                                                                                   Case type code (See list on page 2)
   Housing Session        Number:       BRIDGEPORT                                                                                         Major M                  Minor 90
 For the plaintiff(s) enter the appearance of:
 Name and address of attorney, law rrm or plain::ff if self-represented (Number street, town and zip code)                                    Juns r.umber (if attorney or law firm)
 Consumer Law Group, LLC, 35 Cold Spring Road, Suite 512, Rocky Hill, CT 06067                                                                414047
 Telephone number                              Signature of plaintiff (if seif-represented)
 (860) 571 —0408
 The attorney or law firm appearing for the plaintiff, or the plaintiff if                                     E-mail address for delivery of papers under Section 10-13 of the
 self-represented, agrees to accept papers (service) electronically                                            connectout Practice Book (if agreed)
                                                                                        r’9
 in this case under Section 10-13 of the Connecticut Practice Book.                     j     Yes U     No     dblinncensumerlawgroup.com
       Parties             Name (Last, First, Middle Initial) and address of each party (Number; street; PM. Box; town; state; zip; country, if not USA)
     First             Name:      Gaska, Arkadiusz Josef
   plaintiff           Address:   93 Jackson Street, 2nd Floor, New Britain, CT 06053                                                                                                  P 01
  Additional           Name:      Gaska, Katarzyna
   plaintiff           Address:   93 Jackson Street, 2nd Floor, New Britain, CT 06053                                                                                                  P 02
     First             Name:      DARCARS of Railroad Avenue, Inc., 7550 Wisconsin Ave., FL 6, Bethesda, MD 20814
  defendant            Address:   do CT Corporation System, Its Agent, 67 Burnside Avenue, East Hartford, CT 06108                                                                     001
                                                                                                                                                                                        -

  Additional           Name:
  defendant            Address:                                                                                                                                                        002
  Additional           Name:
  defendant            Address:                                                                                                                                                        0-03
  Additional           Name:
  defendant            Address:

Total number of plaintiffs: 2                               Total number of defendants: 1                                    Form JD-CV-2 attached for additional parties
Notice to each defendant
1. You are being sued. This is a summons in a lawsuit. The complaint attached states the claims the plaintiff is making against you.
2. To receive further notices, you or your attorney must fIle an Appearance (form JD-CL-12) with the clerk at the address above. Generally,
    it must be filed on or before the second day after the Return Date. The Return Date is not a hearing date. You do not have to come to
   court on the Return Date unless you receive a separate notice telling you to appear.
3. If you or your attorney do not file an Appearance on time, a default judgment may be entered against you. You can get an Appearance
   form at the court address above, or on-line at https:f/jud.ct.govlwebforms/.
4. If you believe that you have insurance that may cover the claim being made against you in this lawsuit, you should immediately contact
   your insurance representative. Other actions you may take are described in the Connecticut Practice Book, which may be found in a
   superior court law library or on-line at https://www.jud.ct.gov/pb.htm.
5. If you have questions about the summons and complaint, you should talk to an attorney.
   The court staff is not ailoWd tj13 adv                 gal matters.
Date                    Signed (Sign an/sele          erbox)                                    commissioner of Supeilor court   Name of person signing
08/17/2022                                                                                                Daniel S. Blinn
                                                                                                   clerk
If this summons is signedby a Clerk:                                                                                         For Court Use Only
a. The signing has been done so that the plaintiff(s) will not be denied access to the courts.                     File Date
b. It is the responsibility of the plaintiff(s) to ensure that service is made in the manner provided by law.
c. The court staff is not permitted to give any legal advice in connection with any lawsuit.
d. The Clerk signing this summons at the request of the plaintiff(s) is not responsible in any way for any
     errors or omissions in the summons, any allegations contained in the complaint, or the service of the
     summons or complaint.
I certify I have read and         Signed (Self-represented plaintiff)                                               Date                     Docket Number
understand the above:
                                                                                         Page 1 of 2
                                      Case 3:22-cv-01201-MPS Document 1 Filed 09/23/22 Page 12 of 46
    Instructions

    1. Type orpdnt legibly. If you are a self-represented party, this summons must be signed by a clerk of the court.
    2  If there is more than one defendant, make a copy of the summons for each additional defendant. Each defendant must receive a copy
                                                                                                                                               of
       this summons. Each copy of the summons must show who signed the summons and when it was signed. If there are more than two
       plaintiffs or more than four defendants, complete the Civil Summons Continuation of Parties (form JD-CV-2) and attach it to the original
       and all copies of the summons.
    3. Attach the summons to lhe complaint, and attach a copy of the summons to each copy of the complaint. Include a copy of the Civil
       Summons Continuation of Parties form, if applicable.
    4. After service has been made by a proper officer, file the original papers and the officer’s return of service with the clerk of the court.
    5. Use this summons for the case type codes shown below.
         Do f use this summons for the following actions:
         (a) Family mailers (for example divorce, child support,                                                  (e) Administrative appeals
             custody, parentage, and visitation mailers)                                                          (Q  Proceedings pertaining to arbitration
        (b) Any actions or proceedings in which an attachment,                                                    (g) Summary Process (Eviction) actions
            gamishment orreplevy is sought
                                                                                                                  (h) Entry and Detainer proceedings
        (c) Applications for change of name
                                                                                                                  (i)            Housing Code Enforcement actions
        (d) Probate appeals



Case Type Codes


          MAJOR                   CODE
                                  Major!                                                                                          MAJOR
                                                                   MINOR DESCRIPTION                                                            Major!                                  MINOR DESCRIPTION
        DESCRIPTION                                                                                                         DESCRIPTION
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                                  C 10             Constroctiori State and Local
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                                  C   20           Insurance Policy                                                                             P20                 Ouiet Tide/Discharge olMoitgage or Lien
                                  C 30             Spedtc Performance                                                                           P 30                Asset Fodeitune
                                  C   40           Collections                                                                                  P90                 All other
                                  C 50             Uninsuredilnderinsured Motorist Coverage
                                  C 60             Uniform Limited Uability Company Act C.G
                                                                                      —        S. 34243
                                  C 90             All other                                                              Torts (Other          T 02   Defective Premises Private Snow or Ice   -   -




L
                                                                                                                          than Vehicular)       T 03   Defective Premises Private Other         -   -




‘   Eminent                       EDO              State Highway Condemnation                                                                   TI 1   Defective Prenmses Pubic- Snow Ice
                                                                                                                                                           ‘                                    -



    Domain                I       El 0             Redevelopment Condemnation                                                                   TI 2 Defective Premises Pubic. Other            -




                          I       E 20             Other State or Munidp& Agencies                                I                             T 20 Prodicts LiabiIy Other than Vehicular  -



                                  E 30             Pubic Uttities & Gas Transmission Companies                I                                 728 I Malpractice Mathcal       -



                                  E 90             All other
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“‘using                           H   10           Housing- Rotum of Security Dosft                                                             T4D Assault and Baftery
                                  H   12           Housing- Rent and/or Damages
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                                  H   90           Housing AR Other
                                                           -
                                                                                                                                                171 i Fire Damage
                                               I                                                                                                190 Mother
    Miscellaneous             M 00 Injunction
                              M 10 j Receivership                                                 Vehicular Torts                               VOl                Motor Vehicles Driver and/or Passenger(s) vs. Driver(s)
                                                                                                                                                                                        -




                            [ M 15 Receivership hr Abandoned/Blighted Property                                                                  V 04               Motor Vehicles’ Pedestrian vs. Driver
                                                                                                                                                                                        -




                                                                                                                                                V 05               Motor Vehicles’ Property Damage only
                              M 20 I Mandamus                                                 [                                                                                         -




                          j M 30 Habeas Corpus (extradition, release from Penal Institution)]                                                   V 06               Motor Vehicle’ Products Liabrhty Including Warranty
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                                                                                                                                                V 09               Motor Vehicle’ All other
                              M 40 kbibation                                                 I                                                  VI 0
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                              M 50 Declaratory Judgment                                                                                                            Boats
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                           I M 63    Bar Disdprine                                           I                                                  V20                Airplane,
                              M 66 Department of Labor unermnoyment compensation                                                                V 30               Raikoath
                                     Enforcement                                                          .                                     V40                SncvimotIes
                              M 68 Bar Discipline- Inactive status                                                                              V90                All other
                          F M 70 I Municipal Ordinance and Regulation Enforcement                                                                                     Motor Vehicles induth cars, trucks,
                                                                                                                                                                            cy, and motor scooters.
                              M 80 Foreign Civil Judgments C,G.S. 52-604 & C.G.S. 50a-30
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                      I       M 63 j Small Claims Transfer to Regular Docket
                                                                                                  Wills Estates                                 WI0                Construction ci Wills and Trusts
                      P                    P
                              M 64 Foreign Protective Order
                                                                                                [‘C Trusts                                      W90                Mother
                                           P
                              M 89 CHRO Action in the Pubric nterest- PA. 19-93
                              M90 Mother




                                                                                                    Page 2                of 2
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RETURN DATE: SEPTEMBER 20, 2022                 :   SUPERIOR COURT

ARKADIUSZ JOZEF GASKA AND                       :   FAIRFIELD JUDICIAL DISTRICT
KATARZYNA GASKA,                                    AT BRIDGEPORT
Individually and on Behalf of a Class
of Others Similarly Situated

v.                                              :

DARCARS OF RAILROAD AVENUE, INC.                :   AUGUST 17, 2022


                            CLASS ACTION COMPLAINT

                                   INTRODUCTION

      1.     Arkadiusz Jozef Gaska and Katarzyna Gaska (collectively “Plaintiffs”)

bring this consumer class action on behalf of themselves and others similarly situated

who purchased a motor vehicle from the defendant, DARCARS of Railroad Avenue, Inc.

d/b/a Lexus of Greenwich (“DARCARS”), and who have either paid a “commission” that

was added on to the sales price of the vehicle, have paid more than the price advertised

by DARCARS for the vehicle that they purchased, or both.

      2.     Plaintiffs bring this action as a class action proceeding in accordance with

Conn. Gen. Stat. § 42-110g(b) and Practice Book § 9-7 et seq. They allege that

DARCARS violated the Connecticut Unfair Trade Practices Act, Conn. Gen. Stat. § 42-

110a et seq. (“CUTPA”), in connection with hundreds and possibly thousands of sales
        Case 3:22-cv-01201-MPS Document 1 Filed 09/23/22 Page 14 of 46




of motor vehicles by adding a “commission” to the sales price and by selling vehicles for

more than the advertised price. Plaintiffs seek monetary damages, punitive damages,

and injunctive relief.

                                          PARTIES

       3.      Plaintiffs are over the age of 18 and reside in New Britain, Connecticut.

       4.      Plaintiffs bring this action on their individual behalf and on behalf of two

classes of others (the “Class”) similarly situated to them (the “Commission Class” and

the “Advertised Price Class”).

       5.      DARCARS is a Connecticut corporation that does business as DARCARS

Lexus of Greenwich and is licensed to operate an automobile dealership in Greenwich,

Connecticut.


 DARCARS IMPROPER IMPOSITION OF A “COMMISSION” TO THE SALES PRICE

       6.      DARCARS sells new vehicles manufactured by Lexus, and it also sells

used vehicles manufactured by a variety of companies.

       7.      DARCARS has a business practice of adding a commission of

approximately two percent (2%) (the “Commission”) to the price of new and used

vehicles sold on a retail basis.

       8.      DARCAR utilizes a form of purchase order (“Purchase Order) as required

by Conn. Gen. Stat. § 14-62, and the Purchase Order includes a pre-printed line item

for the Commission, which reads “SALES COMMISSION (not required by law)”.


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        Case 3:22-cv-01201-MPS Document 1 Filed 09/23/22 Page 15 of 46




       9.     The Commission is added to the price of each vehicle sold by DARCARS.

       10.    Car dealerships in Connecticut do not commonly include a commission to

cover the costs of paying commissions to employees or for the internal costs of

acquiring vehicles and preparing them for sale or for purposes of ensuring an

acceptable profit. Those costs and objectives are incorporated into the cash selling

prices charged by car dealerships for motor vehicles.

       11.    By charging a Commission in addition to the stated price, DARCARS has

a competitive advantage over other dealerships, because consumers engaged in price

comparison can easily reach the false conclusion that DARCARS vehicles are relatively

less expensive compared to vehicles offered by its competitors.

       12.    Retail buyer of vehicles sold by DARCARS do not receive anything of

value in return for the Commission, and consumers pay this Commission in addition to

the cash selling prices of the vehicles.

       13.    The Commission charged by DARCARS is separate from and in addition

to the “dealer conveyance fee” or “processing fee” (the “Conveyance Fee”) that

DARCARS charges retail buyers.

       14.    Car dealerships such as DARCARS are permitted to add a Conveyance

Fee to the selling price of motor vehicles subject to the disclosure requirements of

Conn. Gen. Stat. § 14-62 and Conn. Gen. Stat. § 14-62a. The Conveyance Fee is

defined by Conn. Gen. Stat. § 14-62(a) as “a fee charged by a dealer to recover

reasonable costs for processing all documentation and performing services related to

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        Case 3:22-cv-01201-MPS Document 1 Filed 09/23/22 Page 16 of 46




the closing of a sale, including, but not limited to, the registration and transfer of

ownership of the motor vehicle which is the subject of the sale.”

       15.    By contrast, Conn. Gen. Stat. § 14-62 does not permit the addition of the

Commission, and Conn. Gen. Stat § 14-62(b)(2) explicitly prohibits dealerships from

“includ[ing] in the selling price a dealer preparation charge for any item or service for

which the dealer is reimbursed by the manufacturer or any item or service not

specifically ordered by the buyer and itemized on the invoice.”

       16.    DARCARS includes the Commission to the sale price of vehicles, even

though there is no additional service performed or ordered by the retail buyers.

   DARCARS’ SALE OF VEHICLES FOR MORE THAN THE ADVERTISED PRICE

       17.    During all relevant times, DARCARS maintains an inventory of dozens of

new and used vehicles.

       18.    DARCARS maintains the website, www.lexusofgreenwich.com, that

includes a listing of vehicles in DARCARS inventory, and it includes advertised prices

for many of those vehicles.

       19.    DARCARS also advertises or has advertised new and used vehicles for

specified prices in other publications and on various websites such as

www.cargurus.com.

       20.    The prices advertised by DARCARS are competitive in the market place

and are consistent with the prices advertised by other car dealerships for similar


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           Case 3:22-cv-01201-MPS Document 1 Filed 09/23/22 Page 17 of 46




vehicles, and DARCARS’ intent in advertising competitive prices is to attract purchasers

who research vehicle prices before visiting dealerships.

       21.      DARCARS has a business practice of selling vehicles for prices that are

higher than those advertised by it.

       22.      DARCARS utilizes a form of purchase order (“Purchase Order) as

required by Conn. Gen. Stat. § 14-62, and the Purchase Order includes a pre-printed

line item for the cash price of the Vehicle which reads “PRICE OF VEHICLE WITH

ACCESSORIES” (the “Price of Vehicle”).

       23.      The Price of Vehicle line item comports with the requirement in Conn.

Gen. Stat. § 14-62(a)(4) that the Purchase Order disclose the “cash selling price” of a

vehicle.

       24.      DARCARS’ practice of selling motor vehicles for a Price of Vehicle that is

greater than the advertised price violates Conn. Agency. Reg. § 42-110b-28(b)(1),

which provides:

            It shall be an unfair or deceptive act or practice for a new car dealer or used
            car dealer to fail to sell or lease, or refuse to sell or lease, a motor vehicle in
            accordance with any terms or conditions which the dealer has advertised,
            including, but not limited to, the advertised price.




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                           PLAINTIFFS’ TRANSACTION

      25.   Prior to January 11, 2022, Plaintiffs saw a used 2019 Lexus RX 350 (the

“Lexus”) listed by DARCARS on www.cargurus.com for a cash selling price of $40,838.

      26.   A copy of the CarGurus advertisement is duplicated below:




      27.   On or about January 11, 2022, Plaintiffs went to DARCARS and was

shown the Lexus by DARCARS’ sales personnel.

      28.   DARCARS told Plaintiffs that the price of the Lexus was $40,838.

      29.   Plaintiffs agreed to purchase the Lexus.




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        30.   DARCARS presented Plaintiffs with purchase documents to execute,

including a Purchase Order, and Plaintiffs purchased the Lexus pursuant to a retail

installment sales contract.

        31.   The relevant portion of Plaintiffs’ Purchase Order is duplicated below:




        32.   The Purchase Order reflects a Price of Vehicle of $42,238 for the Lexus,

which is $1,400 more than the price advertised on CarGurus and communicated to

Plaintiffs.

        33.   DARCARS also charged Plaintiffs a Commission of $844.76 in addition to

the Price of Vehicle, which Commission was equal to two (2%) percent of the Price of

Vehicle.




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                                  CLASS ALLEGATIONS

       34.     Plaintiffs bring this action as a class action. There are two classes

asserted: the “Commission Class” and the “Advertised Price Class”.

       35.     The Commission Class is comprised of individuals who are similarly

situated to the Plaintiffs in that, during the period commencing three years prior to the

commencement of this action and continuing until such time as there is an order

certifying this case as a class action, they:

                   a. purchased a new or used motor vehicle from DARCARS; and

                   b. DARCARS charged them a Commission in addition to the Price of

             Vehicle as reflected in the Purchase Order.

       36.     The Advertised Price Class is comprised of individuals who are similarly

situated to the Plaintiffs in that, during the period commencing three years prior to the

commencement of this action and continuing until such time as there is an order

certifying this case as a class action, they:

                   a. purchased a new or used motor vehicle from DARCARS;

                   b. DARCARS had advertised the vehicle on its website or on a third-

             party website for a specific price (the “Advertised Price”); and

                   c. the Price of Vehicle charged to them as reflected in the Purchase

             Order was greater than the Advertised Price.




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       37.    The following categories of individuals are excluded from the scope of the

Commission Class and the Advertised Price Class: (a) individuals other than the

Plaintiffs who have, prior to the certification of any class in this action, asserted claims in

court or arbitration against DARCARS under the Connecticut Unfair Trade Practices

Act; (b) car dealerships, automobile wholesalers, or other buyers who did not purchase

their motor vehicles on a retail basis; and (c) former and current employees of

DARCARS.

       38.    Plaintiffs are unable to state the precise number of individuals in the

Commission Class or the Advertised Price Class, because that information is

exclusively in the possession of DARCARS and is ascertainable through discovery.

Plaintiffs believe, and on that basis allege, that both the Commission Class consists of

more than 1,000 individuals and that the Advertised Price Class consists of more than

100 individuals. Plaintiffs base this allegation upon DARCARS’ business practices, the

size of its inventory, and its advertising practices.

       39.    There is a community of interest among the members of the classes in

that there are questions of law and fact common to the classes that predominate over

questions affecting only individual members. Specifically, all of the Commission Class

members’ claims all involve the question of whether DARCARS violated CUTPA by

charging a Commission in addition to the Price of Vehicle, the Advertised Price Class

members’ claims all involve the question of whether DARCARS has violated CUTPA by

selling vehicles for more than the Advertised Price.

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        40.    Plaintiffs and each of the members of the classes have suffered an

ascertainable loss. Members of the Commission Class have suffered an ascertainable

loss because they paid a commission in addition to the Price of Vehicle. Members of

the Advertised Price Class have suffered an ascertainable loss because they have paid

an amount that is greater than the advertised price at which their vehicles should have

been sold.

        41.    Plaintiffs’ claims are typical of those of the classes that they seek to

represent.

        42.    Plaintiffs are adequate class representatives, and they are represented by

counsel competent and experienced in both auto dealer claims and class action

litigation.


              FIRST CAUSE OF ACTION: CUTPA CLAIM FOR DAMAGES –
                              COMMISSION CLASS


        1-42. Plaintiffs incorporate paragraphs 1-42 of the Introductory Paragraphs and

Class Allegations.

        43.    This is a class claim for damages brought pursuant to Connecticut

Practice Book § 9-7 and § 9-8(3) and Conn. Gen. Stat. § 42-110g(b) on behalf of the

Commission Class.




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       44.      DARCARS charging of the Commission in addition to the Price of Vehicle

is a violation of Conn. Gen. Stat. § 14-62 and, consequently, is also a violation of

CUTPA pursuant to Conn. Agency Reg. § 42-110b-28(b)(23).

       45.      The Commission charge is also in violation of CUTPA pursuant to Conn.

Agency Reg. § 42-110b-28(b)(1), because DARCARS’ communication of the Price of

Vehicle to the Plaintiffs on the Purchase Order constituted an advertisement to sell the

Vehicle for that price within the meaning of Conn. Agency Reg. § 42-110b-28(a)(3), and

DARCARS violated Conn. Agency Reg. § 42-110b-28(b)(1) by adding the Commission

to the Price of Vehicle.

       46.      The common questions of law and fact predominate over any individual

questions in that the determination of whether DARCARS’ imposition of the Commission

is a CUTPA violation will be determinative of liability with respect to the Commission

Class claims.

       47.      Additionally, the common questions of law and fact predominate over any

individual questions in that the determination of whether DARCARS has engaged in

deceptive and fraudulent sales practices can be readily ascertained by an examination

of the Purchase Orders for the Commission Class members’ transactions, and the only

individual questions involve a determination of damage, which can be readily calculated

by reference to DARCARS’ records.




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      48.    The identity of the Class can be readily ascertained by reference to

DARCARS records, and any individual questions are subordinate to the common

questions of whether DARCARS practices violate CUTPA.

      49.    A class action is superior to other methods for the fair and efficient

adjudication of the controversy. Because the damages suffered by individual members

of the Commission Class are relatively small compared to the expense and burden of

litigation, it would be impracticable and economically unfeasible for the Commission

Class members to seek redress individually. The prosecution of separate actions by the

individual members of the Commission Class, even if possible or likely, would create a

risk of inconsistent or varying adjudications and could create incompatible standards of

conduct for DARCARS.

      50.    DARCARS is liable to the Plaintiffs and the Commission Class for their

damages in the amount of the Commission plus the additional sales tax and finance

charges attributable to the Commission.

      51.    DARCARS is also liable, in the discretion of the Court, for punitive

damages and attorney’s fees.

     SECOND CAUSE OF ACTION: CUTPA CLAIM FOR INJUNCTIVE RELIEF –
                         COMMISSION CLASS


      1-44. Plaintiffs incorporate paragraphs 1-42 of the Introductory Paragraphs and

Class Allegations and paragraphs 44-45 of the First Count.


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      46.    This is a class claim brought for injunctive relief pursuant to Connecticut

Practice Book § 9-7 and § 9-8(2) on behalf of the Commission Class.

      47.    DARCARS directs advertising towards the Commission Class because, as

former customers of DARCARS, they are more likely than the general public to

purchase another vehicle from DARCARS.

      48.    It is highly probable that many members of the Commission Class will

purchase additional vehicles from DARCARS and that they will be charged the

Commission due to DARCARS continuing unfair trade practices that violate CUTPA.

      49.    Other consumers have asserted claims against DARCARS in which they

have claimed that the charging of the Commission was in violation of CUTPA.

      50.    DARCARS continued to charge the Commission even after becoming

aware of these claims and, on information and belief, it continues to charge the

Commission as of the date of this complaint.

      51.    DARCARS has acted or refuses to act on grounds generally applicable to

the Commission Class, thereby making appropriate final injunctive relief under Conn.

Gen. Stat. § 42-110g(d).

      52.    Plaintiffs seek an order enjoining DARCARS from charging the

Commission in future retail sales.




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      53.    DARCARS is also liable, in the discretion of the Court, for punitive

damages and attorney’s fees.


            THIRD CAUSE OF ACTION: CUTPA CLAIM FOR DAMAGES –
                         ADVERTISED PRICE CLASS


      1-42. Plaintiffs incorporate paragraphs 1-42 of the Introductory Paragraphs and

Class Allegations.

      43.    This is a class claim for damages brought pursuant to Connecticut

Practice Book § 9-7 and § 9-8(3) and Conn. Gen. Stat. § 42-110g(b) on behalf of the

Advertised Price Class.

      44.   DARCARS has violated CUTPA by selling motor vehicles to Plaintiffs and

the Advertised Price Class members for prices higher than the prices at which it had

advertised the vehicles, a violation of Conn. Agency Reg. §42-110b-28(b)(1).

      45.   The common questions of law and fact predominate over any individual

questions in that the determination of whether DARCARS has engaged in deceptive

and fraudulent advertising and sales practices can be readily ascertained by

examination of its advertisements and the Purchase Orders of the Advertised Price

Class members, and the only individual questions involve a determination of damages,

which can be readily calculated by reference to those records.




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       46.   The identity of the Advertised Price Class can be readily ascertained by

reviewing the Purchase Orders of the Advertised Price Class members and comparing

them to the prices at which DARCARS had advertised the Vehicles, and any individual

questions are subordinate to the common questions of whether DARCARS’ practices

violate CUTPA.

       47.   A class action is superior to other methods for the fair and efficient

adjudication of the controversy. Because the damages suffered by individual members

of the Advertised Price Class are relatively small compared to the expense and burden

of litigation, it would be impracticable and economically unfeasible for the Advertised

Price Class members to seek redress individually. The prosecution of separate actions

by the individual members of the Advertised Price Class, even if possible or likely,

would create a risk of inconsistent or varying adjudications and could create

incompatible standards of conduct for DARCARS.

       48.   DARCARS is liable to the Plaintiffs and the Advertised Price Class for their

damages in the amount of the difference between the Advertised Price and the Price of

Vehicle as reflected in the Purchase Orders, plus the additional sales tax and finance

charges attributable to the amounts that they were overcharged.

       49.    DARCARS is also liable, in the discretion of the Court, for punitive

damages and attorney’s fees.




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     FOURTH CAUSE OF ACTION: CUTPA CLAIM FOR INJUNCTIVE RELIEF –
                              ADVERTISED PRICE CLASS


         1-42. Plaintiffs incorporate paragraphs 1-42 of the Introductory Paragraphs and

Class Allegations and paragraph 44 of the Third Count.

         43.   This is a class claim brought for injunctive relief pursuant to Connecticut

Practice Book § 9-7 and § 9-8(2) on behalf of the Advertised Price Class.

         44.   DARCARS has violated CUTPA by failing to sell motor vehicles to

Plaintiffs and the Advertised Price Class members for the prices at which it advertised

the vehicles, a violation under applicable case law and a per se violation under Conn.

Agency Reg. §42-110b-28(b)(1).

         45.   DARCARS continues to sell motor vehicles for more than the Advertised

Price.

         46.   DARCARS directs advertising towards the Advertised Price Class

members because, as former customers of DARCARS, they are more likely than the

general public to purchase another vehicle from DARCARS.

         47.   It is highly probable that many members of the Advertised Price Class will

purchase additional vehicles from DARCARS and that DARCARS will overcharge them

on future transactions due to DARCARS continuing unfair advertising and sales

practices that are in violation of CUTPA.



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       48.    Other consumers have asserted claims against DARCARS in which they

have claimed that the sale of vehicles for more than the advertised price is a violation of

CUTPA.

       49.    DARCARS continued to sell vehicles for more than the advertised price

even after becoming aware of these claims and, on information and belief, it continues

to sell vehicles for more than the advertised price as of the date of this complaint.

       50.    DARCARS has acted or refuses to act on grounds generally applicable to

the Advertised Price Class, thereby making appropriate final injunctive relief under

Conn. Gen. Stat. § 42-110g(d).

       51.    Plaintiffs seek an order enjoining DARCARS from charging more than the

Advertised Price of vehicles in future retail sales.

       52.    DARCARS is also liable, in the discretion of the Court, for punitive

damages and attorney’s fees.

FIFTH CAUSE OF ACTION: CUTPA CLAIM FOR DAMAGES – PLAINTIFFS ONLY

       1-33. Plaintiffs incorporate paragraphs 1-33 of the Introductory Paragraphs.

       34.    This claim is asserted by the Plaintiffs on an individual basis in the

alternative to their claims asserted on behalf of the classes.

       35.    DARCARS has violated CUTPA by charging Plaintiffs the Commission.




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       36.    DARCARS has further violated CUTPA by failing to sell the vehicle to

Plaintiffs for the price at which it had advertised the Lexus.

       37.    DARCARS is liable to the Plaintiffs for their damages, including without

limitation, the cost of the Commission and/or the difference between the Advertised

Price and the cash price charged, the sales tax charged on those amounts, and finance

charges incurred on the amounts that they were overcharged.

       38.    DARCARS is also liable, in the discretion of the Court, for punitive

damages and attorney’s fees.




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      WHEREFORE, Plaintiffs seek the following relief for themselves and the

Classes:

           (1) On behalf of themselves and the Classes, damages pursuant to Conn.
               Gen. Stat. § 42-1 10g(a) in excess of $15,000;
           (2) On behalf of themselves and the Classes, punitive damages pursuant to
               Conn. Gen. Stat. § 42-11 Og(a);
           (3) On behalf of themselves and the Classes, injunctive relief pursuant to
               Conn. Gen. Stat. § 42-11 Og(d);
           (4) Attorney’s fees pursuant to Conn. Gen. Stat.    §   42-llOg(d); and
           (5) Costs pursuant to Conn. Gen. Stat.   §   42-llOg(d).


                                         PLAINTIFFS, ARKADIUSZ JOZEF GASKA
                                         and KATARZYNA GASKA, individually and on
                                         behalf of a Class of Others Similarly Situated


                                         By:____
                                         Daniel S. Blinn #307109
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                                         Juris No. 414047




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                Exhibit B
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                            OFFICER' S RETURN TO COURT

State of Connecticut )
                     )         ss. East Ha1tford                August 24, 2022
County of Hartford )

Then and by virtue hereof and by direction of the plaintiffs attorney, I made due and
legal service upon the within named defendant, DARCARS OF RAILROAD A VENUE,
INC., by leaving a verified true and attested copy of the original Writ, Summons, and
Complaint with and in the hands of Gary Scappini, person in chai·ge of CT Corporation
System, Statutory Registered Agent for Service and duly authorized to accept service on
behalf of the within named defendant, DAR CARS OF RAILROAD A VENUE, INC., at
67 Burnside A venue, in said Town of East Hartford.

The within is the original Writ, Summons, and Complaint with my doings hereon
endorsed.


                                                  Attest:



                                                  Eliz      J Ostrowski
                                                  Connec · t State Marshal
                                                  Hartford County


Fees:
Service                $ 40.00
Travel                 $ 10.00
Verified Pages         $ 21.00
Endorsements           $ 1.20
TOTAL                  $ 72.20




                               ELIZABETH     J.   O STROWSKI
                                 CONNECTICUT STATE MARSHAL
                 P.O. Box 1219, GLASTONBURY, CT 06033-1 219 • (860) 965-8463
Case 3:22-cv-01201-MPS Document 1 Filed 09/23/22 Page 34 of 46




                Exhibit C
                         Case 3:22-cv-01201-MPS Document 1 Filed 09/23/22 Page 35 of 46


                                       FBT-CV22-             GASKA, ARKADIUSZ JOSEF, INDIVIDUALLY AND ON BEHALF Et Al v.
Superior Court Case Look-up
                                     6117756-S               DARCARS OF RAILROAD AVENUE, INC.
 Civil/Family
 Housing                             Prefix: FB2             Case Type: M90 File Date: 08/29/2022 Return Date: 09/20/2022
 Small Claims                        Case Detail Notices History Scheduled Court Dates E-Services Login Screen Section Help
-
Attorney/Firm Juris Number Look-up                                      To receive an email when there is activity on this case, click here.
-
Case Look-up
 By Party Name
 By Docket Number
 By Attorney/Firm Juris Number        Information Updated as of: 09/23/2022
 By Property Address                                                                 Case Information
-
Short Calendar Look-up                              Case Type: M90 - Misc - All other
 By Court Location                             Court Location: BRIDGEPORT JD
 By Attorney/Firm Juris Number                        List Type: No List Type
 Motion to Seal or Close                       Trial List Claim:
 Calendar Notices
-                                                                 08/29/2022 (The "last action date" is the date the information was entered in
                                              Last Action Date:
Court Events Look-up                                             the system)
 By Date
 By Docket Number                                                                Disposition Information
 By Attorney/Firm Juris Number
-                                             Disposition Date:
Legal Notices                                     Disposition:
-
Pending Foreclosure Sales                 Judge or Magistrate:
-
Understanding
                                                                            Party & Appearance Information
Display of Case Information
-                                                                                                                                     No
Contact Us                            Party                                                                                           Fee Category
                                                                                                                                     Party
                                      P-01 ARKADIUSZ JOSEF GASKA INDIVIDUALLY AND ON BEHALF OF A                                              Plaintiff
                                           CLASS OF OTHERS SIMILARLY SITUATED
                                            Attorney:   CONSUMER LAW GROUP LLC (414047) File Date: 08/29/2022
                                                      35 COLD SPRING ROAD
                                                      SUITE 512
                                                      ROCKY HILL, CT 06067
             Comments                 P-02 KATARZYNA GASKA                                                                                    Plaintiff
                                            Attorney:   CONSUMER LAW GROUP LLC (414047) File Date: 08/29/2022
                                                      35 COLD SPRING ROAD
                                                      SUITE 512
                                                      ROCKY HILL, CT 06067
                                      D-01 DARCARS OF RAILROAD AVENUE, INC.                                                                  Defendant
                                           Non-Appearing


                                       Viewing Documents on Civil, Housing and Small Claims Cases:

                                       If there is an   in front of the docket number at the top of this page, then the file is electronic
                                       (paperless).


                                               Documents, court orders and judicial notices in electronic (paperless) civil, housing and small
                                               claims cases with a return date on or after January 1, 2014 are available publicly over the
                                               internet.* For more information on what you can view in all cases, view the Electronic Access
                                               to Court Documents Quick Card.

                                               For civil cases filed prior to 2014, court orders and judicial notices that are electronic are
                                               available publicly over the internet. Orders can be viewed by selecting the link to the order
                                               from the list below. Notices can be viewed by clicking the Notices tab above and selecting
                                               the link.*

                                               Documents, court orders and judicial notices in an electronic (paperless) file can be viewed
                                               at any judicial district courthouse during normal business hours.*
                        Pleadings or other documents that are not electronic (paperless) can be viewed only during
                normal business
Case 3:22-cv-01201-MPS          hours at the
                            Document       1 Clerk’s
                                              FiledOffice in the Judicial
                                                     09/23/22       Page  District
                                                                             36 of where
                                                                                     46 the case is located.*
                        An Affidavit of Debt is not available publicly over the internet on small claims cases filed
                        before October 16, 2017.*


               *Any documents protected by law Or by court order that are Not open to the public cannot be viewed
               by the public online And can only be viewed in person at the clerk’s office where the file is located by
               those authorized by law or court order to see them.

                                               Motions / Pleadings / Documents / Case Status
               Entry                   Filed
                         File Date           Description                                                                        Arguable
               No                       By
               100.30 08/29/2022           P SUMMONS                                                                                 No

               100.31 08/29/2022           P COMPLAINT                                                                               No

               100.32 08/29/2022           P RETURN OF SERVICE                                                                       No


                                                   Scheduled Court Dates as of 09/22/2022
                     FBT-CV22-6117756-S - GASKA, ARKADIUSZ JOSEF, INDIVIDUALLY AND ON BEHALF Et Al v.
                                            DARCARS OF RAILROAD AVENUE, INC.
                 #     Date            Time              Event Description                                             Status
                                                         No Events Scheduled


              Judicial ADR events may be heard in a court that is different from the court where the case is
              filed. To check location information about an ADR event, select the Notices tab on the top of
              the case detail page.

              Matters that appear on the Short Calendar are shown as scheduled court events on this page.
              The date displayed on this page is the date of the calendar.

              The status of a Short Calendar matter is not displayed because it is determined by markings
              made by the parties as required by the calendar notices and the civil standing orders.
              Markings made electronically can be viewed by those who have electronic access through the
              Markings History link on the Civil/Family Menu in E-Services. Markings made by telephone can
              only be obtained through the clerk’s office. If more than one motion is on a single short calendar,
              the calendar will be listed once on this page. You can see more information on matters
              appearing on Short Calendars by going to the Civil/Family Case Look-Up page and Short
              Calendars By Juris Number or By Court Location .

              Periodic changes to terminology that do not affect the status of the case may be made.

              This list does not constitute or replace official notice of scheduled court events.

              Disclaimer: For civil and family cases statewide, case information can be seen on this website
              for a period of time, from one year to a maximum period of ten years, after the disposition date. If
              the Connecticut Practice Book Sections 7-10 and 7-11 give a shorter period of time, the case
              information will be displayed for the shorter period. Under the Federal Violence Against Women
              Act of 2005, cases for relief from physical abuse, foreign protective orders, and motions that
              would be likely to publicly reveal the identity or location of a protected party may not be displayed
              and may be available only at the courts.




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                                                 Updates | Opinions | Opportunities | Self-Help | Home

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                Exhibit D
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                                                                      DEMAND FOR ARBITRATION
                                                                 CONSUMER ARBITRATION RULES


                       Complete this form to start arbitration under an arbitration agreement in a contract.

1. Which party is sending in the ﬁling documents? (check one)                 Consumer         Business

2. Brieﬂy explain the dispute:

Violations of the Truth in Lending Act and Connecticut Unfair Trade Practices Act. See attached Statement of Claim.




3. Specify the amount of money in dispute, if any: $ 14,764.23

4. State any other relief you are seeking:

  Attorney Fees        Interest      Arbitration Costs       Other; explain:

5. Identify the requested city and state for the hearing if an in-person hearing is held: 7*%&0$0/'&3&/$&)&"3*/(3&26&45&%
City: Hartford County                                                         State: Connecticut

6. Please provide contact information for both the Consumer and the Business. Attach additional sheets or forms as needed.

Consumer:

Name: Arkadiusz Jozef Gaska

Address: 93 Jackson Street, 2nd Floor

City: New Britain                                                                State: Connecticut                   Zip Code: 06053

Telephone: 860-518-7421                                                         Fax:

Email Address:

Consumer’s Representative (if known):

Name: Daniel S. Blinn

Firm: Consumer Law Group, LLC

Address: 35 Cold Spring Road, Suite 512

City: Rocky Hill                                                                State: Connecticut                    Zip Code: 06067

Telephone: 860-571-0408                                                         Fax: 860-571-7457

Email Address: dblinn@consumerlawgroup.com; lminer@consumerlawgroup.com

Business:

Name: Darcars of Railroad Avenue, Inc. d/b/a Darcars Lexus of Greenwich

Address: 19 Railroad Avenue

City: Greenwich                                                                 State: Connecticut                    Zip Code: 06830

Telephone: (203) 780-0388                                                       Fax:

Email Address:



         American Arbitration Association, Case Filing Services, 1101 Laurel Oak Road, Suite 100, Voorhees, NJ 08043
                               https://www.adr.org | AAA Customer Service 1-800-778-7879
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                                                                     DEMAND FOR ARBITRATION
                                                                CONSUMER ARBITRATION RULES




 Business’ Representative (if known):

 Name:

 Firm:

 Address:

 City:                                                                 State: Select...                    Zip Code:

 Telephone:                                                            Fax:

 Email Address:

 Date: March 24, 2022


7. Send a copy of this completed form to the AAA together with:

• A clear, legible copy of the contract containing the parties’ agreement to arbitrate disputes;
• The proper ﬁling fee (ﬁling fee information can be found in the Costs of Arbitration section of the Consumer Arbitration Rules); and
• A copy of the court order, if arbitration is court-ordered.

8. Send a copy of the completed form and any attachments to all parties and retain a copy of the form for your records.

To ﬁle by mail, send the initial ﬁling documents and the ﬁling fee to: AAA Case Filing Services, 1101 Laurel Oak Road, Suite 100,
Voorhees, NJ 08043.

To ﬁle online, visit www.adr.org and click on File or Access Your Case and follow directions. To avoid the creation of duplicate ﬁlings,
the AAA requests that the ﬁling documents and payment be submitted together. When ﬁling electronically, no hard copies are required.




  Pursuant to Section 1284.3 of the California Code of Civil Procedure, consumers with a gross monthly income of less than 300% of
  the federal poverty guidelines are entitled to a waiver of arbitration fees and costs, exclusive of arbitrator fees. This law applies to
  all consumer agreements subject to the California Arbitration Act, and to all consumer arbitrations conducted in California. If you
  believe that you meet these requirements, you must submit a completed Afﬁdavit for Waiver of Fees, available on our website.

  Pursuant to New Jersey Statutes § 2A:23B-1 et seq, consumers with a gross monthly income of less than 300% of the federal poverty
  guidelines are entitled to a waiver of arbitration fees and costs, exclusive of arbitrator fees. This law applies to all consumer
  agreements subject to the New Jersey Arbitration Act, and to all consumer arbitrations conducted in New Jersey. If you believe that
  you meet these requirements, you must submit a completed Afﬁdavit for Waiver of Fees, available on our website.




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ADDITIONAL CONSUMER

Katarzyna Gaska
93 Jackson Street, 2nd Floor
New Britain, CT 06053
Telephone: 860-518-7421

CONSUMER’S REPRESENTATIVE:
Daniel S. Blinn
Consumer Law Group, LLC
35 Cold Spring Road, Suite 512
Rocky Hill, CT 06067
Telephone: (860) 571-0408
Fax: (860) 571-7457
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                                       STATEMENT OF CLAIM


       Arkadiusz Jozef Gaska and Katarzyna Gaska (“Claimants”) claim against DARCARS of Railroad
Avenue d/b/a Lexus of Greenwich (“DARCARS”) for violation of the Truth in Lending Act (“TILA”) and the
Connecticut Unfair Trade Practices Act (“CUTPA). The claims arise from the sale and purchase of a
2019 Lexus RX 350 (the “Vehicle”) on January 11, 2022.

        DARCARS had advertised the Vehicle on the www.cargurus.com website for a cash price of
$40,838. Claimants saw the advertisement and traveled to DARCARS to see the Vehicle, and they
agreed to buy it. DARCARS prepared purchase documents to sign electronically, but Claimants were not
permitted to review the retail installment contract (the “Contract”) before being directed to execute the
Contract electronically. Claimants electronically executed the documents and consummated the credit
transaction without having received the disclosures required by TILA. Claimants did not receive any TILA
disclosures until approximately a week after the transaction. Claimants claim statutory damages plus
attorney’s fees under 15 U.S.C. § 1640 of $2,000 for the violation of TILA.

          After Claimants received the TILA disclosures, they realized that DARCARS had charged them
$2,244.76 in excess of the advertised price for the Vehicle. It is a violation of CUTPA for a car dealership
to fail to sell a vehicle for the advertised price under Conn. Agency Reg. § 42-110b-28(b)(1). CUTPA was
further violated due to the failure to provide advance disclosures of the terms of financing and for the
failure to provide Claimants with a copy of the Contract at the time of execution and by their failure to ever
provide the purchase order or invoice as required by Conn. Gen. Stat. § 14-62. See Conn. Agency Reg. §
42-110b-28(b)(23)(violation by dealership of state law concerning sale of motor vehicles a per se violation
of CUTPA). Claimants seek the amount that they were overcharged plus the additional sales tax and
finance charges on this amount. They also claim punitive damages (they suggest $10,000) plus attorney’s
fees under CUTPA.

        Summary of Amounts Claimed:
        TILA Statutory Damages                                              $2,000.00
        Actual Damages
                 a. Amount overcharged               $2,244.76
                 b. Sales Tax on overcharge            $142.541
                 c.   Finance charge on a & b          $376.932
                                                                            $2,764.23
        Punitive Damages (suggested)                                       $10,000.00
        Attorney’s Fees and Costs                                           TBD
        TOTAL (not including fees and costs)                               $14,764.23




1
 Calculated by multiplying the amount overcharged by CT sales tax (6.35%)
2
 This amount is obtained by combining the amount overcharged and sales tax on overcharge ($2,387.30), dividing
that amount by the amount financed ($45,929) and multiplying that percentage (5.198%) by the total finance
charge ($7,251.64).
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